Case 1:20-cv-03197-RMR-STV Document 94 Filed 08/23/22 USDC Colorado Page 1 of 30




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                              Judge Regina M. Rodriguez


   Civil Action No. 1:20-cv-03197-RMR-STV

   KIMBERLY COWDEN and JOANNE GULA,

         Plaintiffs,

   v.

   THE BOARD OF GOVERNORS OF THE COLORADO STATE UNIVERSITY SYSTEM,
   by and through Colorado State University-Pueblo, et al.,

         Defendants.


                                       AMENDED ORDER


         Pending before the Court is the Motion to Dismiss of Defendants William

   Folkestad, Mohamed Abdelrahman, and Timothy Mottet, ECF No. 47. For the reasons

   stated below, the motion is GRANTED IN PART and DENIED IN PART.

                                  I.      BACKGROUND

         Plaintiffs Dr. Kimberly Cowden and Dr. Joanne Gula were Assistant Professors in

   the Department of Mass Communications within the College of Humanities and Social

   Sciences at the Colorado State University-Pueblo (“CSUP”) from August of 2016 and

   August of 2015, respectively, until May 30, 2019, when they allege that they received

   letters “stating that they would not be assigned a teaching course load, nor would they

   have any service or research obligations to CSUP for the 2019–2020 academic year.”

   ECF No. 44 ¶¶ 20–22, 107. In their Third Amended Complaint, which is now the operative
Case 1:20-cv-03197-RMR-STV Document 94 Filed 08/23/22 USDC Colorado Page 2 of 30




   complaint in this action, see ECF Nos. 41–45, Plaintiffs allege that they received these

   letters “after they each spoke out about gender discrimination.” ECF No 44 ¶ 109. They

   bring six claims of relief against various Defendants. Id. ¶¶ 123–217. Against Defendant

   the Board of Governors of the Colorado State University System, by and through

   Colorado State University-Pueblo (“CSUP”), they bring the following four claims:

         1. “Discrimination Based on Gender in Violation of Title VII of the Civil Rights Act
            of 1964, 42 U.S.C. § 2000e, et seq. (“Title VII”),” id. ¶¶ 123–34;

         2. “Retaliation in Violation of Title VII, 42 U.S.C. § 2000e, et seq.,” id. ¶¶ 135–42;

         3. “Sex Discrimination in violation of Title IX of the Education Amendments of
            1972, as amended,” id. ¶¶ 143–47; and

         4. “Retaliation in violation of Title IX of the Education Amendments of 1972,” id.
            ¶¶ 148–53.

   Against the individual Defendants William Folkestad, Dean of the College of Humanities,

   Arts and Social Sciences; Mohamed Abdelrahman, Provost and Executive Vice President

   for Academic Affairs; and Timothy Mottet, CSUP President, in their individual and official

   capacities, Plaintiffs bring the remaining two claims pursuant to 42 U.S.C. § 1983:

         5. “First Amendment Violation – Freedom of Speech,” ECF No. 44 ¶¶ 154–85,
            and

         6. “First Amendment Violation – Right to Petition,” id. ¶¶ 186–217.




                                               2
Case 1:20-cv-03197-RMR-STV Document 94 Filed 08/23/22 USDC Colorado Page 3 of 30




   The individual Defendants Folkestad, Abdelrahman, and Mottet have moved to dismiss

   the Third Amended Complaint; therefore, only the last two claims for First Amendment

   violations are at issue in their present Motion to Dismiss. 1 See ECF No. 47.

           Plaintiffs allege the following facts pertinent to Defendants’ motion to dismiss these

   First Amendment claims. In September of 2018, CSUP cancelled several classes within

   the Department of Mass Communications, citing low student enrollment as the cause.

   ECF No. 44 ¶ 23–24.            Defendant Dean Folkestad directed Sam Lovato, the Mass

   Communications Chair and Professor, to request that the professors within the

   Department of Mass Communications submit a teaching or research idea. Id. ¶ 25.

   Although Dr. Cowden submitted a teaching and research idea, Mr. Lovato and Defendant

   Dean Folkestad denied the suggested idea. Id. ¶¶ 26–27. Dr. Cowden and Dr. Gula

   were assigned to complete a mandatory administrative project that was unrelated to their

   faculty positions and that was not required of a male faculty member of the College of

   Humanities and Social Sciences, who “was permitted to pursue a non-administrative

   project that was relevant to his research and teaching goals.” Id. ¶¶ 28–30.

           Subsequently, “[a]t the beginning of 2019, Dr. Cowden complained on behalf of

   herself and Dr. Gula about gender discrimination due to disparate treatment between

   female and male faculty.” Id. ¶ 31. On January 15, 2019, Dr. Cowden emailed Defendant

   Provost Abdelrahman and Defendant Dean Folkestad “regarding her complaints of


   1 Defendant CSUP has filed a Partial Answer to the Third Amended Complaint and Jury Demand, answering
   the claims and allegations pertinent to that Defendant. See ECF No. 46 ¶ 130 (“The remaining claims in
   paragraphs 154–217 are against Defendants Mottet, Folkestad, and Abdelrahman in their individual and
   official capacities, and are the subject of a Motion to Dismiss. Thus, no response is required from CSUP.”).
   Defendant CSUP has not moved to dismiss any part of the Third Amended Complaint.



                                                        3
Case 1:20-cv-03197-RMR-STV Document 94 Filed 08/23/22 USDC Colorado Page 4 of 30




   gender discrimination on behalf of the female faculty based on recent events that

   occurred within the College of Humanities and Social Sciences Mass Communications

   Department.” Id. ¶¶ 40–52. Defendant Provost Abdelrahman “directed Dr. Cowden to

   discuss her complaints of discrimination with Joshua Ernst, Director & Title IX

   Coordinator” but, according to Plaintiffs, “did not take action to protect Dr. Cowden and

   Dr. Gula from further discrimination and retaliation after their protected complaints of

   discrimination.” Id. ¶¶ 53, 60. “The next day, on January 16, 2019, Dr. Cowden and Dr.

   Gula met with Mr. Ernst and filed a formal complaint of gender discrimination.” Id. ¶¶ 61.

   CSUP opened an investigation regarding Plaintiffs’ complaints of discrimination. Id.

   ¶¶ 85, 89, 105.     Plaintiffs allege that after their complaints about Mr. Lovato’s

   discriminatory conduct, “he began retaliating against Plaintiffs even further by creating a

   more hostile work environment and treating them less favorably than their male

   colleagues.” Id. ¶ 64.

         On or around February 11, 2019, Dr. Cowden and Dr. Gula received their annual

   performance reviews from Professor and Dean of the College of Humanities and Social

   Sciences, Leticia Steffen, and those reviews indicated that the Plaintiff professors “m[et]

   expectations.” Id. ¶¶ 72, 74. Plaintiffs allege that Dr. Gula had previously “exceed[ed]

   expectations”; that Dr. Cowden’s performance review “did not acknowledge [her]

   achievements related to her research”; that in March of 2018, prior to her complaints of

   discrimination, Dr. Cowden “received positive feedback and encouragement at her pre-

   tenure review” and she was told to “improve her student evaluations”; and that she “met

   her goal of improved student feedback.” Id. ¶¶ 70, 74, 76, 80, 82. According to Plaintiffs,



                                               4
Case 1:20-cv-03197-RMR-STV Document 94 Filed 08/23/22 USDC Colorado Page 5 of 30




   “[t]he negative and intentional shift toward Dr. Cowden and Dr. Gula and their

   contributions to CSUP occurred after their complaints of discrimination and was a direct

   result of the protected complaints of discrimination.” Id. ¶ 84. On February 24, 2019, Dr.

   Cowden “filed a written objection to her 2018 performance review due to its discriminatory

   and retaliatory nature.” Id. ¶ 86.

          On April 10, 2019 “CSUP informed Dr. Cowden and Dr. Gula, through letter

   communication, that they were each recommended for termination from their tenure-track

   Associate Professor positions” by Mr. Lovato and Dean Folkestad. Id. ¶¶ 88–89. “The

   April 10, 2019 letter stated that the recommendation was made due to “budgetary issues,

   including ‘declining enrollment’ and ‘over staffing’” and that the recommendation was

   made pending approval by the President, [Defendant] Timothy Mottet.” Id. ¶¶ 92–93. On

   April 11, 2019 “and the days following,” Dr. Cowden and Dr. Gula posted on social media

   and made statements to “news outlets in the Pueblo area” “that [College of Humanities

   and Social Sciences] female faculty members were being terminated while male faculty

   members were permitted to keep their jobs.” Id. ¶¶ 96–97. They also discussed the

   impact that CSUP’s decisions and alleged gender discrimination would have on students.

   Id. ¶ 114.

          On May 13, 2019, Plaintiffs received a letter from Defendant Mottet, approving the

   recommendation of Defendant Provost Abdelrahman that Plaintiffs should not be re-

   appointed to their tenure-track positions. Id. ¶ 100. Then on May 30, 2019, Defendant

   Dean Folkestad sent Plaintiffs each “a letter stating that they would not be assigned a

   teaching course load, nor would they have any service or research obligations to CSUP



                                               5
Case 1:20-cv-03197-RMR-STV Document 94 Filed 08/23/22 USDC Colorado Page 6 of 30




   for the 2019–2020 academic year.” Id. ¶¶ 107, 109. However, CSUP would pay Plaintiffs’

   salary and benefits for the 2019–2020 academic year. Id. ¶ 111. CSUP “admitted” that

   Plaintiffs’ “statements in . . . public postings and newspaper articles are the reason CSU-

   Pueblo decided to pay [them] but not have them teach further classes.” Id. ¶ 115.

   Plaintiffs allege that “[i]n June 2019, [they] received communications that evidenced

   additional funds were available, contrary to CSUP’s allegations that faculty cuts were

   necessary for ‘over staffing.’” Id. ¶ 120.

          As stated above, Plaintiffs bring claims against Defendants Folkestad,

   Abdelrahman, and Mottet, in their official and individual capacities, for violations of

   Plaintiffs’ First Amendment right to freedom of speech and right to petition. Id. ¶¶ 154–

   217. Those individual Defendants move for dismissal of these claims against them in

   their official capacities for lack of subject matter jurisdiction because they have Eleventh

   Amendment immunity. ECF No. 47 at 3–4, 13–14. They also move for dismissal under

   Rule 12(b)(6), arguing that Plaintiffs fail to state a First Amendment claim and that

   Defendants enjoy qualified immunity. Id. at 4–12.

                                  II.    LEGAL STANDARDS

          A.     Subject Matter Jurisdiction

          A defendant may move to dismiss a complaint for “lack of subject matter

   jurisdiction” under Rule 12(b)(1). Fed. R. Civ. P. 12(b)(1). “The Eleventh Amendment is

   a jurisdictional bar that precludes unconsented suits in federal court against a state and

   arms of the state.” Peterson v. Martinez, 707 F.3d 1197, 1205 (10th Cir. 2013) (quotations

   and citation omitted); see also Neiberger v. Hawkins, 150 F. Supp. 2d 1118, 1120 (D.



                                                6
Case 1:20-cv-03197-RMR-STV Document 94 Filed 08/23/22 USDC Colorado Page 7 of 30




   Colo. 2001) (Babcock, J.) (“A motion to dismiss based on sovereign immunity is treated

   as a motion to dismiss for lack of subject matter jurisdiction pursuant to Rule 12(b)(1).”).

   “Federal courts are courts of limited jurisdiction, possessing only that power authorized

   by Constitution and statute.”      Caballero v. Fuerzas Armadas Revolucionarias de

   Colombia, 945 F.3d 1270, 1273 (10th Cir. 2019) (quoting Gunn v. Minton, 568 U.S. 251,

   256 (2013)).    “The party invoking a federal court’s jurisdiction bears the burden of

   establishing subject-matter jurisdiction,” id. (citing Safe Streets All. v. Hickenlooper, 859

   F.3d 865, 878 (10th Cir. 2017)), and “there is a presumption against federal jurisdiction,”

   Neiberger, 150 F. Supp. 2d at 1120.

          “Challenges to jurisdiction under Fed. R. Civ. P. 12(b)(1) generally take two forms:

   facial attacks on the sufficiency of jurisdictional allegations and factual attacks on the

   accuracy of those allegations.” Neiberger, 150 F. Supp. 2d at 1120 (citing Holt v. United

   States, 46 F.3d 1000, 1002–03 (10th Cir. 1995), abrogated on other grounds, Ratheal v.

   United States, No. 20-4009, 2021 WL 3619902, at *3 (10th Cir. Aug. 16, 2021)). “When

   reviewing a factual attack on subject matter jurisdiction, a district court may not presume

   the truthfulness of the complaint’s factual allegations. A court has wide discretion to allow

   affidavits, other documents, and a limited evidentiary hearing to resolve disputed

   jurisdictional facts under Rule 12(b)(1).” Holt, 46 F.3d at 1003. “Reference to evidence

   outside the pleadings does not convert the motion to dismiss into a motion for summary

   judgment in such circumstances.” SK Finance SA v. La Plata Cnty., 126 F.3d 1272, 1275

   (10th Cir. 1997) (citing Holt, 46 F.3d at 1003).




                                                7
Case 1:20-cv-03197-RMR-STV Document 94 Filed 08/23/22 USDC Colorado Page 8 of 30




          B.     Failure To State a Claim

          A defendant may move to dismiss a complaint under Rule 12(b)(6) for “failure to

   state a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). “To survive a

   motion to dismiss, a complaint must contain sufficient factual matter, accepted as true, to

   ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678

   (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim has

   facial plausibility when the plaintiff pleads factual content that allows the court to draw the

   reasonable inference that the defendant is liable for the misconduct alleged.”               Id.

   “Threadbare recitals of the elements of a cause of action, supported by mere conclusory

   statements, do not suffice.”     Id.    “Where a complaint pleads facts that are ‘merely

   consistent with’ a defendant’s liability, it ‘stops short of the line between possibility and

   plausibility of ‘entitlement to relief.’” Id. “Although for the purposes of a motion to dismiss,

   [courts] must take all of the factual allegations in the complaint as true,” id., “[c]ourts are

   permitted to review ‘documents referred to in the complaint if the documents are central

   to the plaintiff’s claim and the parties do not dispute the document’s authenticity.’” Toone

   v. Wells Fargo Bank, N.A., 716 F.3d 516, 521 (10th Cir. 2013) (quoting Gee v. Pacheco,

   627 F.3d 1178, 1186 (10th Cir. 2010)).

                                          III.   ANALYSIS

          A.     Subject Matter Jurisdiction: Eleventh Amendment Immunity

          Defendants argue that Plaintiffs cannot establish that this Court has subject matter

   jurisdiction over their claims for damages against the individual Defendants, in their official

   capacities, because the Eleventh Amendment bars such claims. ECF No. 47 at 3–4.




                                                  8
Case 1:20-cv-03197-RMR-STV Document 94 Filed 08/23/22 USDC Colorado Page 9 of 30




   Plaintiffs “stipulate that of the remedies sought, [they] only seek prospective, injunctive

   relief against the Administrators in their official capacities.” ECF No. 49 at 4. Therefore,

   the Court need not consider Defendants’ arguments regarding whether Eleventh

   Amendment immunity bars claims for damages against Defendants in their official

   capacities. Further, the Court need not consider any claim for injunctive relief against the

   Defendants in their individual capacities because “Section 1983 plaintiffs may sue

   individual-capacity defendants only for money damages and official-capacity defendants

   only for injunctive relief.” Brown v. Montoya, 662 F.3d 1152, 1161 n.5 (10th Cir. 2011)

   (citing Hafter v. Melo, 502 U.S. 21, 30 (1991)). Hence, the Court only considers whether

   Eleventh Amendment immunity bars Plaintiffs’ claims for injunctive relief against the

   Defendants in their official capacities.

          Plaintiffs seek prospective, injunctive relief in the form of “reinstatement.” ECF No.

   44 at 26; ECF No. 49 at 4. Defendants argue that, under the Eleventh Amendment and

   Ex parte Young, 209 U.S. 123 (1908), the Court lacks subject matter jurisdiction over

   Plaintiffs’ claims for prospective relief against the individual Defendants in their official

   capacities who cannot provide the prospective relief requested. ECF No. 47 at 4; see

   also ECF No. 74 at 2 (noting that Defendants’ Ex parte Young defense was raised only

   on behalf of Defendants Dean Folkestad and Provost Abdelrahman).

          The Eleventh Amendment states that “[t]he Judicial power of the United States

   shall not be construed to extend to any suit in law or equity, commenced or prosecuted

   against one of the United States by Citizens of another State, or by Citizens or Subjects

   of any Foreign State.” U.S. Const. amend. XI. Hence, “[t]he Eleventh Amendment



                                                9
Case 1:20-cv-03197-RMR-STV Document 94 Filed 08/23/22 USDC Colorado Page 10 of 30




   generally bars suits against a state in federal court commenced by citizens of that state

   or citizens of another state.”     Elephant Butte Irrigation District of New Mexico v.

   Department of Interior, 160 F.3d 602, 607 (10th Cir. 1998). However, Ex parte Young,

   209 U.S. 123 (1908) permits suits against state officials in their official capacity for

   prospective, injunctive relief against ongoing violations of federal law.

          According to Defendants, Provost Abdelrahman and Dean Folkestad “do not have

   authority to provide Plaintiffs any relief whatsoever” because “Plaintiffs must sue the

   official who can provide prospective relief.” ECF No. 47 at 4 (citing Doe v. University of

   Colo., Boulder, 255 F. Supp. 3d 1064, 1083 (D. Colo. 2017); Peterson, 707 F.3d at 1207;

   see also ECF No. 47-2 (Declaration of Johnna Doyle, CSUP Deputy General Counsel)).

   Indeed, the Supreme Court held in Ex parte Young that:

          In making an officer of the state a party defendant in a suit to enjoin the
          enforcement of an act alleged to be unconstitutional, it is plain that such
          officer must have some connection with the enforcement of the act, or else
          it is merely making him a party as a representative of the state, and thereby
          attempting to make the state a party.

   Ex parte Young, 209 U.S. at 157; see also Klein v. University of Kan. Med. Ctr., 975 F.

   Supp. 1408, 1417 (D. Kan. 1997) (“In Ex Parte Young, the Supreme Court noted that the

   state official must have the power to perform the act required in order to overcome the

   jurisdictional bar of the Eleventh Amendment.”).            Plaintiffs argue that Provost

   Abdelrahman and Dean Folkestad “have sufficient connection with the act or conduct,”

   noting that “the connection to the unconstitutional act may come by way of ‘administrative

   delegation’ or a ‘demonstrated practice.’”        ECF No. 49 at 4–5 (quoting Garcia v.




                                                10
Case 1:20-cv-03197-RMR-STV Document 94 Filed 08/23/22 USDC Colorado Page 11 of 30




   Metropolitan State Univ. of Denver, No. 19-cv-02261-RBJ, 2020 WL 886219, at *7 (D.

   Colo. Feb. 24, 2020) (Jackson, J.); Peterson, 707 F.3d 1197).

           However, courts in the Tenth Circuit have applied Eleventh Amendment immunity

   in similar circumstances. See, e.g., Garcia, 2020 WL 886219, at *7 (finding that the

   University president had sufficient “supervisory power and may compel compliance from

   whatever officials are directly responsible for enforcing the challenged conduct,” as did

   two other administrators who “could lift [the plaintiff student’s] suspension and alter the

   other sanctions imposed on her,” but that the remaining defendants did not “exercise

   relevant supervisory power or authority to compel compliance"); Klein, 975 F. Supp. at

   1417 (finding that “none of the individuals that [the plaintiff] ha[d] sued ha[d] the power to

   provide him with the relief he s[ought]—reinstatement” because only the “current

   Chancellor” of the University had that authority). Here, both administrative delegation

   and demonstrated practice point to President Mottet, rather than Provost Abdelrahman

   and Dean Folkestad, as the officer with “some connection” to the challenged action. See

   Peterson, 707 F.3d at 1207; see also Ex parte Young, 209 U.S. at 157.

           First, Defendants have provided a Declaration from CSUP’s Deputy General

   Counsel, stating that “the authority to appoint personnel” has not been “sub-delegated” to

   the Provost, Defendant Abdelrahman, or the Dean, Defendant Folkestad. 2 ECF No. 47-


   2 Plaintiffs allege in their Third Amended Complaint that “[i]ndividual Defendants Folkestad . . . and

   Abdelrahman are final policy makers for Defendant CSUP, or have been delegated final policymaking
   authority,” in contradiction to the Declaration of CSUP’s deputy general counsel. Compare ECF No. 44
   ¶¶ 167, 200, with ECF No. 49-2 ¶ 3. As stated, “[w]hen reviewing a factual attack on subject matter
   jurisdiction, a district court . . . . has wide discretion to allow affidavits, other documents, and a limited
   evidentiary hearing to resolve disputed jurisdictional facts under Rule 12(b)(1),” Holt, 46 F.3d at 1003, and
   reference to such materials does not convert the motion to dismiss into one for summary judgment, SK
   Finance SA, 126 F.3d at 1275.



                                                        11
Case 1:20-cv-03197-RMR-STV Document 94 Filed 08/23/22 USDC Colorado Page 12 of 30




   2 ¶ 3. Hence, there was no relevant “administrative delegation” of authority to Defendants

   Abdelrahman and Folkestad. 3 See Peterson, 707 F.3d at 1207. Second, Plaintiffs’

   allegations demonstrate that the April 10, 2019 recommendation that they be terminated

   “was pending approval by the President, Timothy Mottet”; that he “was required to

   approve and make the final decision not to reappoint Plaintiffs’ employment”; that “[o]n

   May 13, 2019, Plaintiffs each received a letter from Mr. Mottet. . . , stating that at the

   recommendation of Dr. Abdelrahman, Mr. Mottet approved the non-reappointment of

   Plaintiffs’ tenure-track positions”; and that “[a]s a result of Mr. Mottet’s decision, Plaintiffs’

   employment from CSUP was terminated.” ECF No. 44 ¶¶ 92–93, 100–01 (emphasis

   added). Moreover, the Declaration of CSUP’s Deputy General Counsel states that Dean

   Folkestad has “retired from [CSUP]” and therefore “has no authority to act on the school’s

   behalf with regard to any injunctive or declaratory relief that the court may order.” Id. ¶ 5.

   Therefore, Plaintiffs’ own allegations, combined with the uncontroverted facts in

   Defendants’ Declaration, indicate that the “demonstrated practice” was that Defendant

   Mottet would make the relevant final employment decisions at issue here. See Peterson,

   707 F.3d at 1207. For these reasons, the Court finds that it does not possess jurisdiction




   3 Plaintiffs attack the Declaration of Johnna Doyle as “conclusory and self-serving” and not “based on
   personal knowledge, set[ting] forth facts as would be admissible into evidence, [or] show[ing] that the affiant
   is competent to testify to the matters stated.” ECF No. 49 at 6 (citing Federal Deposit Ins. Corp. v. Oaklawn
   Apartments, 959 F.2d 170, 175 (10th Cir. 1992); Hall v. Bellmon, 935 F.2d 1106, 1111 (10th Cir. 1991)).
   However, the University’s Deputy General Counsel, who is likely competent to testify as to matters of CSUP
   policy, declares “under penalty of perjury” that she has “personal knowledge” of the statements in the
   Declaration and that she is “familiar with the Board of Governors of the Colorado State University System
   polic[ie]s outlining the powers and duties of [CSUP’s] president.” ECF No. 47-2 at 1. On the other hand,
   Plaintiffs provide nothing other than their conclusory allegations and arguments to support their attack of
   these statements. Therefore, the Court, exercising its “wide discretion,” does consider the statements in
   the Declaration in deciding Defendants’ Motion to Dismiss. See Holt, 46 F.3d at 1003.



                                                        12
Case 1:20-cv-03197-RMR-STV Document 94 Filed 08/23/22 USDC Colorado Page 13 of 30




   over Defendants Provost Abdelrahman and Dean Folkestad, in their official capacities, as

   to the prospective, injunctive relief sought on the First Amendment claims.

         Defendants do not argue that Plaintiffs’ request for prospective, injunctive relief

   should be dismissed against CSUP President Mottet, in his official capacity, and they do

   not contest whether Defendant Mottet possesses the authority providing him with “some

   connection” to the prospective, injunctive relief Plaintiffs seek. See ECF No. 47 at 4; ECF

   No. 74 at 2. Indeed, the Declaration of CSUP’s Deputy General Counsel states that “[t]he

   president of [CSUP] has been delegated with the power to appoint and enter into

   employment relationships with all personnel and the president is granted the exclusive

   power to remove employees.” ECF No. 47-2 ¶ 3. Therefore, the Court finds that it

   possesses jurisdiction over the prospective, injunctive relief sought in Plaintiffs’ First

   Amendment claims against Defendant Mottet in his official capacity.

         Given that the Court does not possess jurisdiction to consider the First Amendment

   claims against Defendants Dean Folkestad and Provost Abdelrahman in their official

   capacities, the Court does not consider the merits of those claims as against those

   defendants. See, e.g., Caballero, 945 F.3d at 1273 (“[A] court lacking jurisdiction cannot

   render judgment but must dismiss the cause at any stage of the proceedings in which it

   becomes apparent that jurisdiction is lacking.”).    However, because the Court does

   possess jurisdiction to consider these claims, to the extent they request prospective

   injunctive relief against Defendant Mottet in his official capacity, and because Defendants

   do not challenge this Court’s jurisdiction to consider these claims requesting damages

   against the individual Defendants in their individual capacities, the Court proceeds to



                                               13
Case 1:20-cv-03197-RMR-STV Document 94 Filed 08/23/22 USDC Colorado Page 14 of 30




   analyze Defendants’ motion to dismiss under Rule 12(b)(6) for failure to state a claim for

   damages against Defendants Folkestad, Abdelrahman, and Mottet, in their individual

   capacities, and for injunctive relief as to Defendant Mottet, in his official capacity.

          B.     Failure To State a Claim: First Amendment Claims

          Defendants argue that Plaintiffs fail to state a First Amendment claim and move

   for dismissal under Rule 12(b)(6) because (1) Plaintiffs’ claims fail to fulfill the

   requirements of the five prongs of the Garcetti/Pickering test and (2) the individual

   Defendants named in their individual capacities possess qualified immunity. ECF No. 47

   at 4–13. The Court addresses each argument below.

                 1.     Garcetti/Pickering Analysis

          “The test for determining whether [a plaintiff] was denied her constitutional rights

   by being terminated for speaking on matters of public concern is the Pickering test, now

   modified by the Supreme Court’s decision in Garcetti v. Ceballos, [547 U.S. 410 (2006)].”

   Dixon v. Kirkpatrick, 553 F.3d 1294, 1301–02 (10th Cir. 2009) (citing Brammer-Hoelter v.

   Twin Peaks Charter Academy, 492 F.3d 1192, 1202 (10th Cir. 2007); Pickering v. Board

   of Educ., 391 U.S. 563, 568 (1968)).

          The test comprises five elements, called ‘prongs’: (1) whether the speech
          was made pursuant to an employee’s official duties; (2) whether the speech
          was on a matter of public concern; (3) whether the government’s interests,
          as employer, in promoting the efficiency of the public service are sufficient
          to outweigh the plaintiff’s free speech interests; (4) whether the protected
          speech was a motivating factor in the adverse employment action; and (5)
          whether the defendant would have reached the same employment decision
          in the absence of the protected conduct.

   Dixon, 553 F.3d at 1302.




                                                 14
Case 1:20-cv-03197-RMR-STV Document 94 Filed 08/23/22 USDC Colorado Page 15 of 30




          As stated, Plaintiffs bring First Amendment claims regarding both their right to

   freedom of speech, ECF No. 44 ¶¶ 154–85, and their right to petition, id. ¶¶ 186–217.

   Plaintiffs’ right to petition claim appears to refer to their internal complaints of gender

   discrimination at CSUP that they made in January of 2019, and which gave rise to an

   investigation that was also initiated in January of 2019—before their February 2019

   annual performance reviews and their April 10, 2019 letters “recommend[ing] . . . [their]

   non-reappointment.” See id. ¶¶ 31–91. On the other hand, Plaintiffs’ freedom of speech

   claim appears to pertain to Plaintiffs’ “public statements,” including social media postings

   and statements to news outlets, starting on April 11, 2019—before they received the May

   13, 2019 letter from Defendant Mottet “approv[ing] the non-reappointment of Plaintiffs’

   tenure-track positions” and before they received they May 30, 2019 letter from CSUP

   “stating that they would not be assigned a teaching course load” or have any “service or

   research obligations to CSUP for the 2019–2020 academic year.” See id. ¶¶ 96–107.

          However, Defendants provide no argument in their motion to dismiss regarding

   Plaintiffs’ right to petition claim. See ECF No. 47 at 5–13 (discussing Plaintiffs’ First

   Amendment claim only with regard to their social media posts and cursorily stating that

   the Garcetti/Pickering analysis applies to “a First Amendment claim under any theory”).

   A party “waive[s] [an] issue by failing to make any argument or cite any authority to

   support his assertion.” United States v. Hardwell, 80 F.3d 1471, 1492 (10th Cir. 1996);

   see also, e.g., In re Molycorp, Inc. Sec. Litig., 157 F. Supp. 3d 987, 1003 n.10 (D. Colo.

   2016) (Moore, J.) (finding that “for the purpose of considering Defendants’ motion to

   dismiss,” an argument “raised in a perfunctory manner,” was waived).              Although



                                               15
Case 1:20-cv-03197-RMR-STV Document 94 Filed 08/23/22 USDC Colorado Page 16 of 30




   Defendants argue in their Reply that they have “established that . . . Plaintiffs’ internal

   complaints prior to their non-reappointment . . .            fail[s]   to meet    the   five-part

   Garcetti/Pickering test,” ECF No. 52 at 2; see also id. at 3, “[t]he general rule in this circuit

   is that a party waives issues and arguments raised for the first time in a reply brief.” Reedy

   v. Werholtz, 660 F.3d 1270, 1275 (10th Cir. 2011) (internal quotations and citation

   omitted); see also Brammer-Hoelter, 492 F.3d at 1207 (quoting Tran v. Trustees of State

   Colleges in Colo., 355 F.3d 1263, 1266 (10th Cir. 2004)) (“Issues not raised in the opening

   brief are deemed abandoned or waived.”). Therefore, here, Defendants have waived any

   argument that Plaintiffs’ First Amendment right to petition claim should be dismissed for

   failure to state a claim, and that claim shall proceed against Defendant Mottet in his official

   capacity.

          In addition, Defendants have not made any arguments regarding Plaintiffs’ speech

   to “news outlets in the Pueblo area,” ECF No. 44 ¶ 96; again, Defendants’ arguments only

   pertain to Plaintiffs’ statements on social media. See ECF No. 47 at 6–13. Therefore,

   Defendants have waived any argument that Plaintiffs’ First Amendment freedom of

   speech claim pertaining to statements to “news outlets in the Pueblo area that the

   [College of Humanities and Social Sciences] female faculty members were being

   terminated while male faculty members were permitted to keep their jobs,” ECF No. 44

   ¶ 96, should be dismissed for failure to state a claim. See, e.g., Hardwell, 80 F.3d at

   1492; In re Molycorp, Inc. Sec. Litig., 157 F. Supp. 3d at 1003 n.10. Therefore, the First

   Amendment freedom of speech claim shall proceed against Defendant Mottet in his

   official capacity, as it pertains to Plaintiffs’ statements to news outlets.



                                                  16
Case 1:20-cv-03197-RMR-STV Document 94 Filed 08/23/22 USDC Colorado Page 17 of 30




          The only remaining issue is whether Plaintiffs’ First Amendment freedom of speech

   claim pertaining to their social media posts should proceed. The Court also finds that

   Plaintiffs have, for purposes of this motion to dismiss, adequately alleged a First

   Amendment violation under the prongs of the Garcetti/Pickering analysis, discussed

   below in turn.

                        a.     Whether the Speech Was Made Pursuant to the
                               Employees’ Official Duties

          The first step of the Garcetti/Pickering analysis is to determine “whether the speech

   was made pursuant to an employee’s official duties.” Dixon, 553 F.3d at 1302. “[I]f an

   employee engages in speech during the course of performing an official duty and the

   speech reasonably contributes to or facilitates the employee’s performance of the official

   duty, the speech is made pursuant to the employee’s official duties.” Brammer-Hoelter,

   492 F.3d at 1203. “The ultimate question is whether the employee speaks as a citizen or

   instead as a government employee—an individual acting ‘in his or her professional

   capacity.’” Id. at 1203. “[N]ot all speech that occurs at work is made pursuant to an

   employee’s official duties[,] . . . . [n]or is all speech about the subject matter of an

   employee’s work necessarily made pursuant to the employee’s official duties.” Id. at

   1204. Furthermore, “[t]he mere fact that a citizen’s speech concerns information acquired

   by virtue of his public employment does not transform that speech into employee—rather

   than citizen—speech.” Lane v. Franks, 573 U.S. 228, 240 (2014). “The critical question

   under Garcetti is whether the speech at issue is itself ordinarily within the scope of an

   employee’s duties, not whether it merely concerns those duties.” Id.




                                               17
Case 1:20-cv-03197-RMR-STV Document 94 Filed 08/23/22 USDC Colorado Page 18 of 30




           The Court “must take a practical view of all the facts and circumstances

   surrounding the speech and the employment relationship.” Brammer-Hoelter, 492 F.3d

   at 1204.      Here, Plaintiffs allege that their statements concerned, generally, first,

   “discrimination at CSUP.” ECF No. 44 ¶ 97; see also id. ¶ 96 (describing statements “that

   the [College of Humanities and Social Sciences] female faculty members were being

   terminated while male faculty members were permitted to keep their jobs”); id. ¶ 114.a.–

   b. (“gender discrimination” and “treatment of females at CSUP”). Second, Plaintiffs’

   statements concerned the “impact CSUP decisions will have on students,” including “the

   lack of options for ‘newer majors’ as a result of CSUP decisions.” Id. ¶ 114.c.–d.; see

   also id. ¶ 97 (describing Plaintiffs’ statements about “the negative impact [discrimination

   at CSUP] had on the students, faculty, and CSUP”).                    Plaintiffs’ allegations in the

   Complaint regarding the subject matter of their statements are generally consistent with

   the subject matter of the social media postings that Defendants provide as Exhibit A to

   their motion to dismiss. See ECF No. 47-1. 4

           Defendants argue that Plaintiffs’ social media statements were made pursuant to

   their official duties because they were made on the department’s social media page; the

   statements were largely addressed to students; the professors refer to each other by title

   (“Dr. Gula” and “Dr. Cowden”); Plaintiffs comment about school business; Plaintiffs made

   requests of students; and a Plaintiff reprimanded another professor for not congratulating


   4 The Court may consider this exhibit, which is a “matter[] outside the pleadings,” in deciding this Rule
   12(b)(6) motion without converting it to a motion for summary judgment because “the document is referred
   to in the complaint and is central to the plaintiff’s claim” and there is no dispute about the document’s
   authenticity. See Weise v. Colorado Springs, 421 F. Supp. 3d 1019, 1031–32 (D. Colo. 2019) (Brimmer,
   C.J.); see also Toone, 716 F.3d at 521.



                                                     18
Case 1:20-cv-03197-RMR-STV Document 94 Filed 08/23/22 USDC Colorado Page 19 of 30




   “ALL award recipients.” ECF No. 47 at 6. However, as the Supreme Court made clear

   in Lane and as the Tenth Circuit made clear in Brammer-Hoelter, the fact that employees

   speak at work or about information involving the subject matter of their employment and

   acquired during the course of their employment does not convert speech made as a

   citizen into speech made as an employee. See Lane, 573 U.S. at 240; Brammer-Hoelter,

   492 F.3d at 1203.      Plaintiffs here were speaking as citizens, rather than as public

   employees.

                        b.      Whether the Speech Was on a Matter of Public Concern

          At the second step of the Garcetti/Pickering analysis, “if an employee does not

   speak pursuant to [her] official duties, but instead speaks as a citizen, the court must

   determine whether the subject of the speech is a matter of public concern.” Brammer-

   Hoelter, 492 F.3d at 1203; see also Dixon, 553 F.3d at 1302. “In deciding what is a matter

   of public concern, [courts] are required to consider the content, form, and context of a

   given statement, as revealed by the whole record.” Brammer-Hoelter, 492 F.3d at 1205

   (internal quotations and citations omitted). Although the Tenth Circuit has held that

   “speech regarding grievances about internal departmental affairs, disputes over the term

   of employment, and workplace frustration” are not matters of public concern, generally,

   “[s]tatements revealing official impropriety usually involve matters of public concern.” Id.

   at 1205. For example, “[s]peech concerning potential illegal conduct by government

   officials is inherently a matter of public concern.” Id. at 1206 (holding that former teachers’

   speech regarding “whether the [school’s] code of conduct could legally limit Plaintiff’s




                                                 19
Case 1:20-cv-03197-RMR-STV Document 94 Filed 08/23/22 USDC Colorado Page 20 of 30




   freedom of speech and whether [the former principal’s] attempts to do so violated the First

   Amendment [were] clearly matters of public concern”).

          In addition, “[s]peech involves matters of public concern when it can be fairly

   considered as relating to any matter of political, social, or other concern to the community,

   or when it is a subject of legitimate news interest; that is, a subject of general interest and

   of value and concern to the public.” Lane, 573 U.S. at 241 (internal quotations and citation

   omitted).   “The arguably ‘inappropriate or controversial character of a statement is

   irrelevant to the question of whether it deals with a matter of public concern.” Snyder v.

   Phelps, 562 U.S. 443, 453 (2011).

          Here, the social media posts involve alleged gender discrimination at CSUP. Such

   speech regarding alleged “official impropriety” is the type of statement that the Tenth

   Circuit has held to be a matter of public concern. See Brammer-Hoelter, 492 F.3d at

   1205. Further, statements regarding the impact of CSUP’s decisions on students and

   others in the community are “fairly considered as relating to [a] matter of . . . concern to

   the community.” See Lane, 573 U.S. at 241.

          Defendants argue that Plaintiffs’ statements “are about their own non-

   reappointment” and were made “to air personal grievances” and therefore do not involve

   “a matter of public concern.” ECF No. 47 at 8. Defendants cite Gardetto v. Mason, 100

   F.3d 803, 812 (10th Cir. 1996), in which the Tenth Circuit held that “[i]n deciding how to

   classify particular speech, courts focus on the motive of the speaker and attempt to

   determine whether the speech was calculated to redress personal grievances or whether

   it had a broader public purpose.” See ECF No. 47 at 7. However, the Tenth Circuit also



                                                 20
Case 1:20-cv-03197-RMR-STV Document 94 Filed 08/23/22 USDC Colorado Page 21 of 30




   held in that case that “[t]he objectives, purposes, and mission of a public university are

   undoubtedly matters of public concern” and that speech criticizing a college’s reduction-

   in-force plan was a matter of public concern. Gardetto, 100 F.3d at 813–14.

           Plaintiffs’ statements do not center around their personal grievances, but instead

   focus on the broader situation at CSUP. See, e.g., 47-1 at 1 (“Please read carefully: why

   out of eight people who received one year terminal contracts are FOUR of them FEMALE

   MASS COMM PROFESSORS????”). The only statements Plaintiffs made about their

   individual situations were (1) Plaintiff Gula responded to the question “Who are all the

   professors that have been affected?” by listing the names of the four female professors

   who received termination letters, including herself and Plaintiff Cowden, and (2) Plaintiff

   Gula stated, “they gave us a terminal year, but hey we need to find new jobs NOW and

   they want to somehow restructure the department and who knows what they have

   planned.” ECF No. 47-2 at 4, 6. Similar to the speech in Gardetto, the statements here

   were made in the context of “a broader public purpose” of discussing alleged

   discrimination and planned changes at CSUP, which touch on the university’s “objectives,

   purposes, and mission.” See Gardetto, 100 F.3d at 812–13. The Court finds that

   Plaintiffs’ speech here was on a matter of public concern. 5




   5 Defendants also argue that, by posting, “STUDENTS you need to FIGHT,” Plaintiff Gula encouraged
   conduct “for the purpose of interfering with CSUP’s internal decisions to integrate the Department with art
   and music and interfere with CSUP’s ability to contract with adjunct professors.” ECF No. 47 at 9. However,
   this argument does not bear on the Court’s analysis of the second prong of the Garcetti/Pickering analysis,
   but instead relates to the third prong of “whether the government’s interests, as employer, in promoting the
   efficiency of the public service are sufficient to outweigh the plaintiff’s free speech interests,” addressed
   below. See Dixon, 553 F.3d at 1302.



                                                       21
Case 1:20-cv-03197-RMR-STV Document 94 Filed 08/23/22 USDC Colorado Page 22 of 30




                       c.     Whether the Government’s Interests, as Employer, in
                              Promoting the Efficiency of the Public Service Outweigh
                              the Plaintiffs’ Free Speech Interests

          The inquiry at the third step of the Garcetti/Pickering analysis is “whether the

   employer has an efficiency interest which would justify it in restricting the particular

   speech at issue.” Brammer-Hoelter, 492 F.3d at 1207 (internal quotations and citation

   omitted); see also Dixon, 553 F.3d at 1302. “Arguably, ‘the only public employer interest

   that can outweigh a public employee’s recognized speech rights is the interest in avoiding

   direct disruption, by the speech itself, of the public employer’s internal operations and

   employment relationships.” Brammer-Hoelter, 492 F.3d at 1207 (quoting Flanagan v.

   Munger, 890 F.2d 1557, 1566 (10th Cir. 1989)) (emphasis in original). “[T]he employer

   bears the burden of justifying its regulation of the employee’s speech.” Id. (emphasis in

   original).

          Defendants argue that because Plaintiffs made false statements on social media

   about CSUP and their department, “Plaintiffs’ statements contradicted and interfered with

   CSUP’s effort to give a consistent, uniform explanation to alumni and students about its

   need to make changes based upon declining student enrollment.” ECF No. 47 at 11; see

   also id. at 11–12 (“Plaintiffs’ social media posts that ‘[u]nfortunately the department has

   been dissolved and will now be gone’ had the potential to scare current students into

   transferring to other higher education institutions and to deter perspective freshman

   students from enrolling.”). However, the Tenth Circuit has rejected the argument that

   “reaction by offended members of the public would adversely impact its external

   relationships and operations” was sufficient to carry the government employer’s burden



                                               22
Case 1:20-cv-03197-RMR-STV Document 94 Filed 08/23/22 USDC Colorado Page 23 of 30




   of justifying its regulation of employee speech. Flanagan, 890 F.2d at 1566 (finding that

   “[t]he record is devoid of evidence of actual, potential, disruption of the department’s

   internal operations—no discipline problems, no disharmony, no impact on close working

   relationships, and no performance problems by plaintiffs”) (emphasis added).

   “Apprehension of disturbance is not enough to overcome the right to freedom of

   expression.” Id. at 1567. Therefore, Defendants’ arguments about the impact that

   Plaintiffs’ statements would have on CSUP’s relationship with students, prospective

   students, and alumni do not carry Defendants’ burden here. 6

             Defendants also argue that Plaintiff Gula’s social media post “suggest[ing] that

   Department Chair Professor Lovato was playing favoritisms” was “made to destroy

   working relationships within the Department.” ECF No. 47 at 12. However, this post was

   Plaintiff Gula’s response to a post congratulating “all the MC students who received

   scholarships and honors at [an] award luncheon,” in which Plaintiff Gula asked “[w]hy

   wasnt [sic] a picture shared of ALL award recipients like in previous years and this year

   only rev recipients with Lovato is this the future of mccnm?” and stated, “Thanks for

   congratulating all award winners . . . as is proper.” ECF No. 47-1 at 29–30. Hence, this

   post apparently pertained to Mr. Lovato’s alleged favoritism of students, rather than of

   colleagues within the department. Therefore, again, this post did not affect “internal . . .

   employment relationships” at the university or the department. See Brammer-Hoelter,

   492 F.3d at 1207. Defendants have not carried the burden of demonstrating that their




   6   The same reasoning applies to the arguments noted above in footnote 5. See supra note 5.



                                                      23
Case 1:20-cv-03197-RMR-STV Document 94 Filed 08/23/22 USDC Colorado Page 24 of 30




   “interests, as employer, in promoting the efficiency of the public service are sufficient to

   outweigh the plaintiff[s’] free speech interests.” See Dixon, 553 F.3d at 1302.

                             d.       Whether the Protected Speech was a Motivating Factor
                                      for the Adverse Employment Action

           At the fourth step of the Garcetti/Pickering analysis, the Court must determine

   “whether the protected speech was a motivating factor in the adverse employment

   action.” Dixon, 553 F.3d at 1302. Plaintiffs allege that “CSUP admitted” that Plaintiffs’

   “statements in these public postings and newspaper articles are the reason CSU-Pueblo

   decided to pay your clients but not have them teach further classes.” ECF No. 44 ¶ 115.

   Defendants do not dispute this allegation 7 and instead argue that CSUP’s actions with

   regard to Plaintiffs’ employment “would not deter a reasonable person from exercising

   their First Amendment rights.” ECF No. 47 at 12 (citing Couch v. Board of Trs. of Mem’l

   Hosp. of Carbon Cnty., 587 F.3d 1223, 1238 (10th Cir. 2009)). Defendants cite Belcher

   v. City of McAlester, 324 F.3d 1203, 1207 n.4 (10th Cir. 2003), in which the Tenth Circuit

   held that “[i]mplicit in the Pickering test is a requirement that the public employer have

   taken some adverse employment action against the employee.” ECF No. 47 at 12.

   However, the argument that, even though Plaintiffs were terminated, because they were

   paid their full salaries for the subsequent year, their termination was not an “adverse

   employment action,” see id., flies in the face of logic and the law. Termination is not

   “inconsequential,” nor does it have “speculative consequences.” See Belcher, 324 F.3d

   7 Plaintiffs have filed an email from defense counsel to Plaintiffs’ counsel, stating, “[y]our clients’ statements
   in these public postings and newspaper articles are the reason CSU-Pueblo decided to pay your clients but
   not have them teach further classes.” ECF No. 49-4 at 1. Because Defendants do not dispute Plaintiffs’
   allegation in the complaint reflecting this emailed statement, the Court need not consider the email in
   deciding the present motion. See ECF No. 44 ¶ 115; ECF No. 47 at 12–13.



                                                          24
Case 1:20-cv-03197-RMR-STV Document 94 Filed 08/23/22 USDC Colorado Page 25 of 30




   at 1207 n.4. The Tenth Circuit held in Belcher that a written reprimand constitutes

   adverse employment action. Id. In comparison, termination, regardless of the terms,

   certainly constitutes an adverse employment action. See, e.g., Duda v. Elder, 7 F.4th

   899, 912 (10th Cir. 2021) (finding that the defendant had “not carried his burden . . . to

   show that his interest in maintaining an efficient workplace . . . outweighed [the plaintiff’s]

   free speech interest” where “the record show[ed] [plaintiff’s] termination was based on . . .

   discrimination”) (emphasis added).

          Defendants also argue that the fact that Plaintiffs, themselves, were not deterred

   from speaking indicates that a reasonable person would not be deterred from speaking.

   ECF No. 47 at 12. However, Defendants ignore the chronology of events alleged.

   Plaintiffs allege that it was the day after receiving the letter recommending—pending

   approval by University President Mottet—Plaintiffs’ non-reappointment that Plaintiffs

   began posting on social media. See ECF No. 44 ¶¶ 89, 93, 96. It was approximately a

   month later that Plaintiffs received a letter from President Mottet confirming that he

   accepted the recommendation to terminate them. Id. ¶ 100. Two weeks after that,

   Plaintiffs received a letter “removing all responsibilities associated with their Associate

   Professor role.” Id. ¶ 109. Therefore, the adverse action of termination and removal from

   their roles did not take place until after Plaintiffs’ speech. Defendants’ theory that the

   adverse action in question did not actually deter Plaintiffs from speaking is not supported

   by the facts alleged in the Third Amended Complaint. The Court finds that the fourth

   prong of the Garcetti/Pickering analysis weighs in Plaintiffs’ favor.




                                                 25
Case 1:20-cv-03197-RMR-STV Document 94 Filed 08/23/22 USDC Colorado Page 26 of 30




                        e.     Whether the Defendant Would Have Reached the Same
                               Employment Decision in the Absence of the Protected
                               Conduct

          The fifth and final inquiry in the Garcetti/Pickering analysis is “whether the

   defendant would have reached the same employment decision in the absence of the

   protected conduct.” Dixon, 553 F.3d at 1302. Defendants do not argue in their opening

   brief that Plaintiffs’ Third Amended Complaint fails to meet this fifth prong of the analysis.

   See ECF No. 47 at 6 (“Plaintiffs’ Complaint does not meet the first, second, third, or fourth

   prong of the Garcetti/Pickering analysis.”). Defendants only raise arguments regarding

   this fifth prong in their Reply brief. See ECF No. 52 at 7. As stated, “[t]he general rule in

   this circuit is that a party waives issues and arguments raised for the first time in a reply

   brief.” Reedy, 660 F.3d at 1275; see also Brammer-Hoelter, 492 F.3d at 1207. Therefore,

   Defendants appear to have waived this issue for purposes of the present motion to

   dismiss. Given the Court’s findings that Plaintiffs’ social media postings were made as

   citizens, rather than as employees in the course of their official duties; that the speech

   was on a matter of public concern; that Defendants did not establish that CSUP’s interests

   outweighed Plaintiffs’ free speech interests; that Defendants took an adverse employment

   action against Plaintiffs; and that Defendants waived the issue of whether they would

   have reached the same employment decision in the absence of the protected conduct,

   Plaintiffs have sufficiently alleged a First Amendment right to petition claim to survive

   Defendants’ present motion to dismiss the First Amendment claims for injunctive relief

   against Defendant Mottet in his official capacity. See Dixon, 553 F.3d at 1302.




                                                26
Case 1:20-cv-03197-RMR-STV Document 94 Filed 08/23/22 USDC Colorado Page 27 of 30




                 2.     Qualified Immunity

          “Qualified immunity ‘protects governmental officials from liability for civil damages

   insofar as their conduct does not violate clearly established statutory or constitutional

   rights of which a reasonable person would have known.’” Weise v. Casper, 593 F.3d

   1163, 1166 (quoting Pearson v. Callahan, 555 U.S. 223, 231 (2009)); see also Pearson,

   555 U.S. at 232 (“Qualified immunity is applicable unless the official’s conduct violated a

   clearly established constitutional right.”). “[Q]ualified immunity is unavailable ‘in a suit to

   enjoin future conduct . . . .’” Pearson v. Callahan, 555 U.S. 223, 242–43 (10th Cir. 2009)

   (quoting County of Sacramento v. Lewis, 523 U.S. 833, 859 (1998) (Stevens, J.,

   concurring)). Therefore, the Court only assesses whether qualified immunity applies to

   Plaintiffs’ claims for damages against the individual Defendants in their individual

   capacities.

          “The qualified immunity inquiry has two prongs: whether a constitutional violation

   occurred, and whether the violated right was ‘clearly established’ at the time of the

   violation.” Id. (quoting Pearson, 555 U.S. at 232). “In their discretion, courts are free to

   decide which prong to address first ‘in light of the circumstances of the particular case at

   hand.’” Id. (quoting Pearson, 555 U.S. at 236). “Generally, when a defendant asserts

   qualified immunity, the plaintiff carries [this] two-part burden.” Cillo v. City of Greenwood

   Village, 739 F.3d 451, 460 (10th Cir. 2013). However, “[a]sserting a qualified immunity

   defense via a Rule 12(b)(6) motion . . . subjects the defendant to a more challenging

   standard of review than would apply on summary judgment. On a motion to dismiss, it is

   the defendant’s conduct as alleged in the complaint that is scrutinized for



                                                 27
Case 1:20-cv-03197-RMR-STV Document 94 Filed 08/23/22 USDC Colorado Page 28 of 30




   [constitutionality].” Thompson v. Ragland, 23 F.4th 1252, 1256 (10th Cir. 2022) (internal

   quotations and citations omitted) (alteration in original) (emphasis in original).

          Here, the Court finds, as discussed above, that “the facts that [Plaintiffs] . . .

   alleged” in the Third Amended Complaint “make out a violation of a constitutional right.”

   See Pearson, 555 U.S. at 232; see also Thompson, 23 F.4th at 1256. The Court further

   finds that “the right at issue was ‘clearly established’ at the time of defendants’ alleged

   misconduct.” Id. “Ordinarily, in order for the law to be clearly established, there must be

   a Supreme Court or Tenth Circuit decision on point, or the clearly established weight of

   authority from other courts must have found the law to be as the plaintiff maintains.” Cruz

   v. City of Laramie, 239 F.3d 1183, 1187 (10th Cir. 2001). However, Plaintiffs are “not

   required to show . . . that the very act in question previously was held unlawful in order to

   establish an absence of qualified immunity.” Id. “The contours of the right must be

   sufficiently clear that a reasonable official would understand that what he is doing violates

   that right”; however, “[t]his is not to say that an official action is protected by qualified

   immunity unless the very action in question has previously been held unlawful, but it is to

   say that in light of pre-existing law the unlawfulness must be apparent.” Anderson v.

   Creighton, 483 U.S. 635, 640 (1987) (internal citation omitted).

          The First Amendment rights of these professors were sufficiently clear such that a

   reasonable university administrator could have recognized them. There is Tenth Circuit

   authority establishing the following: (1) Speaking about or at work does not mean that

   Plaintiffs were speaking as employees, rather than as citizens. See Lane, 573 U.S. at

   240; Brammer-Hoelter, 492 F.3d at 1203. (2) “The objectives, purposes, and mission of



                                                28
Case 1:20-cv-03197-RMR-STV Document 94 Filed 08/23/22 USDC Colorado Page 29 of 30




   a public university are undoubtedly matters of public concern,” Gardetto, 100 F.3d at 812,

   as are allegations of official impropriety, Brammer-Hoelter, 492 F.3d at 1205.

   (3) Apprehension of disturbance external to the operation of the University, as opposed

   to its “internal operations,” is not enough to outweigh the right to freedom of expression.”

   Brammer-Hoelter, 492 F.3d at 1207; see also Flanagan, 890 F.2d at 1567.

   (4) Termination constitutes an adverse employment action that would deter a reasonable

   employee from speaking. See, e.g., Belcher, 324 F.3d at 1207 n.4; see also Langley v.

   Adams County, 987 F.2d 1473, 1479 (10th Cir. 1993) (“It is clearly established that a

   State may not discharge an employee on a basis that infringes that employee’s

   constitutionally protected interest in freedom of speech.”); Patrick v. Miller, 953 F.2d 1240,

   1247–48 (10th Cir. 1992) (finding that “it was clearly established when Defendants

   terminated Patrick that his statements during the Retirement Board meeting would

   constitute protected speech”). 8 Hence, the Court finds that Plaintiffs’ rights regarding

   Defendants’ arguments for each of the Garcetti/Pickering prongs were clearly

   established, and for purposes of this stage of the litigation and this motion to dismiss,

   Plaintiffs have carried their burden to rebut Defendants’ qualified immunity defense.

                                          IV.     CONCLUSION

          For the reasons stated above, the Court GRANTS IN PART and DENIES IN PART

   the individual Defendants’ Motion to Dismiss Plaintiffs’ Third Amended Complaint, ECF

   No. 47, as follows:



   8As discussed, Defendants appear to have waived the issue of whether they would have reached the same
   employment decision absent the protected conduct. See supra Section III.B.1.e.; Dixon, 553 F.3d at 1302.



                                                     29
Case 1:20-cv-03197-RMR-STV Document 94 Filed 08/23/22 USDC Colorado Page 30 of 30




      •   Claims Five and Six in Plaintiffs’ Third Amended Complaint (the First Amendment

          claims) are DISMISSED WITHOUT PREJUDICE for lack of jurisdiction against

          Defendants Folkestad and Abdelrahman, in their official capacities.

      •   The First Amendment claims, to the extent they seek relief in the form of damages,

          are DISMISSED WITHOUT PREJUDICE for lack of jurisdiction against Defendant

          Mottet, in his official capacity; and

      •   The First Amendment claims, to the extent they seek prospective injunctive relief,

          shall proceed against Defendant Mottet, in his official capacity, and to the extent

          they seek relief in the form of damages, these claims shall proceed against

          Defendants Folkestad, Abdelrahman, and Mottet, in their individual capacities.




          DATED: August 23, 2022

                                                       BY THE COURT:



                                                       _____________________________
                                                       REGINA M. RODRIGUEZ
                                                       United States District Judge




                                                  30
